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Ca`Se 2:04-Cv-02810-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 1 of 8 Page|D 39

 

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FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05
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RENITA MALONE, W/DOFTN¢MENWS
Plaintiff,

vs. No. 04-2810 Ml[P
SHELBY COUNTY GOVERNMENT,
SHELBY COUNTY SHERIFF
DEPARTMENT, and SHIRLEY MARCUM

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Defendants.

 

ORDER GRANTING PLAINTIFF'S MOTION FOR
LEAVE TO FILE AN AMENDED COMPLAINT

 

Before the court is plaintiff Renita Malone’s Motion for Leave
to File an Amended Complaint, filed on March 28, 2005 (dkt #27).
Defendants Shelby County Government,r Shelby County Sheriff’s
Department, and Shirley Marcum filed their response on April 12,
2005. The court held a hearing on the motion on April 26. Counsel
for all parties were present and heard. For the reasons helow, the
motion is GRANTED.

I. BACKGROUND

Malone filed this complaint against the defendants on October
12, 2004, alleging race-based discrimination in her employment and
retaliation under Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 1981, and 42 U.S.C. § 1983. The original

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Case 2:04-Cv-028lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 2 of 8 Page|D 40

scheduling order in this case set the deadline for amending the
pleadings for January 31, 2005.1 On March 28, 2005, Malone filed
this motion “to include newly acquired facts and the applicable
law.” She seeks to reorganize the original complaint -
particularly with respect to her § 1981 - and to add a claim for
negligent infliction of emotional distress.

Defendants oppose the motion on two grounds. First, they
argue that Malone failed to demonstrate good cause to extend the
time to amend the complaint. Second, they claim it would be futile
to amend the complaint with respect to the claim under 42 U.S.C. §
1981 and the claim for negligent infliction of emotional distress.
At the conclusion of the April 26 hearing, and after considering
the entire record including the arguments of counsel, the court
found that there was good cause to allow the plaintiff to file this
motion after the deadline for amending pleadings. Thus, the only
remaining issue for this court to consider is whether the
amendments would be futile.

II . ANALYSIS
A. Standard of Review

Under Federal Rule of Civil Procedure 15(a), a party must
obtain leave of court or consent of the other party to amend a
complaint after an answer has been served. “[L]eave shall be

freely given when justice so requires.” Fed. R. Civ. P. 15(a).

 

lThe scheduling order has recently been amended to extend
certain deadlines.

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Case 2:04-Cv-028lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 3 of 8 Page|D 41

Nevertheless, a court may deny a motion for leave to amend the
complaint if the amendment would be futile. Yuhasz v. Brush
Wellmanc Inc., 341 F.3d 559, 569 (6th Cir. 2003)(citing Foman v.
ngi§, 371 U.S. 178, 182 (1962)). “A proposed amendment is futile
if the amendment could not withstand a Rule 12(b)(6) motion to
dismiss.” Rose v. Hartford Underwriters Ins. Co., 203 F.3d 417,
420 (6th Cir. 2000)(citing Thiokol Corp. v. Dep't of Treasurv, 987
F.2d 376, 382-83 (6th Cir. 1993}). Federal Rule of Civil Procedure
12(b)(6) provides that a complaint shall be dismissed if it fails
to state a claim upon which relief can be granted.

When considering a Rule 12(b)(6) motion to dismiss, a court
must treat all of the well-pleaded allegations of the complaint as
true, Savlor v. Parker Seal Co., 975 F.2d 252, 254 (6th Cir. 1992),
and must construe all of the allegations in the light most
favorable to the plaintiff. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974). Any ambiguities in the complaint must be construed in
favor of the plaintiff. In re Sofamor Danek Group, Inc., 123 F.Bd
394, 400 (6th Cir. 1997). “A court may dismiss a complaint only if
it is clear that no relief could be granted under any set of facts
that could be proved consistent with the allegations.” Hishon v.
King & Spalding, 467 U.S. 69, 73 (1984).

B. § 1981 Claim

In her original complaint, the plaintiff makes reference to

violations of § 1981 under the broader sections titled “Title VII”

and “42 U.S.C. § 1983.” With respect to the § 1981 allegations,

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Case 2:04-Cv-O28lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 4 of 8 Page|D 42

she claims that she was treated differently than similarly situated
white employees and that defendant Shelby County failed to train
and failed to “put in place a policy and procedure that would be
fair and that does not have a discriminatory impact against its
African-Americans.” (Compl. ll 26-28). Plaintiff further contends
that after she complained of unequal terms and conditions of her
employment, the defendant subjected her to retaliatory treatment
and that the defendants “have retaliated against the Plaintiff by
forcing her back to full-duty in contradiction to her doctor and
denying her the protection that every employee in the Country is
entitled to according to the policy and procedures.” (Compl. ll
23-25).

In the plaintiff’s proposed amended complaint, the allegations
pertaining to the § 1981 claim are substantially the same. The
only apparent difference between the § 1981 claim in the original
andy proposed. amended. complaints is that the § 1981 clainl now
appears in its own separate section, whereas before it was
organized under the Title VII and § 1983 sections. Thus, at least
with respect to the § 1981 claim, the proposed amended complaint
does not “amend” that particular claim. _§§ Thompson v. Life Ins.

CO. Of NOrth America, NO. 5:99CV630-BR(3), 2000 WL 33682692, at *3

 

(E.D.N.C. Feb. 16, 2000) (unpublished). Although the defendants
argue that allowing the amendment would be futile because § 1983
provides the exclusive remedy for violations of the rights

contained in § 1981 by state actors, this exact same argument has

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Case 2:04-Cv-O28lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 5 of 8 Page|D 43

been fully briefed by the parties in the pending partial motion to
dismiss. ld. at *3 (“the court chooses to refrain from applying
the futility analysis to parts of the proposed amended complaint
that do not constitute amendments.”).

C. Negligent Infliction of Emotional Distress

Tennessee has adopted a general negligence standard for
negligent infliction of emotional distress claims, requiring that
the plaintiff show duty, breach, injury, causation in fact, and
proximate causation. Camper v. Minor, 915 S.W.2d 437, 446 (Tenn.
1996). In addition to these elements, the plaintiff must show that
she suffered a serious or severe emotional injury supported by
medical or scientific proof. lgg This serious or severe emotional
injury occurs “where a reasonable person, normally constituted,
would be unable to adequately cope with the mental stress engendered
by the circumstances of the case.” ld; (quoting Rodrigues v.
S_t_a_te_, 472 P.2d 509, 520 (1970)).

Defendants argue that the plaintiff has not sufficiently
alleged in her proposed amended complaint that she suffered the
requisite level of injury. The court disagrees. Malone claims that
she “suffered physical injury, humiliation, severe emotional pain
and distress, insomnia, embarrassment, and mental pain and anguish.”
§§e Proposed Amended Complaint l 35. This allegation meets the

pleading requirements of a claim for a serious or severe emotional

Case 2:04-Cv-O28lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 6 of 8 Page|D 44

injury.2 See Sallee v. Barrett, No. 2003-01893, 2004 WL 2159020, at
*7 (Tenn. Ct. App. Sept. 24, 2004)(unpublished)(holding that
complaint's allegation that Plaintiff “suffered severe and.permanent
emotional distress and now has post traumatic stress disorder”
sufficiently pleaded the serious injury requirement under Tennessee
law); see also Haves v. Illinois Power Co., 225 Ill.App.3d 819, 826
(Ill. App. Ct. 1992)(finding that an allegation in the complaint
that “the Plaintiff has sustained serious injury and illness and
psychological damage” sufficiently pleaded Illinois’s serious injury
and illness requirement for emotional distress claims).
III. CONCLUSION

Accordingly, the court GRANTS the motion for leave to file an

amended complaint. The Clerk of Court is directed to accept as

filed the amended complaint attached to Malone’s motion.

 

2It is unclear from both the original complaint and the
amended complaint whether the plaintiff is also alleging
intentional infliction of emotional distress. Neither versions
of the complaint include a specific allegation of intentional
infliction of emotional distress. As with the § 1981 claim, the
original complaint and amended complaint do not differ
substantively on the “claim” for intentional infliction of
emotional distress. Thus, the court need not address the
futility argument for this claim, since the amended complaint
does not “amend” the claim for intentional infliction of
emotional distress. Moreover, the argument has been fully
briefed by the parties in the pending partial motion to dismiss.

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CaSe 2:04-Cv-O28lO-.]PI\/|-tmp Document 36 Filed 07/01/05 Page 7 of 8 Page|D 45

IT IS SO ORDERED.

TU M. PHAM
United States Magistrate Judge

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Date

 

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Honorable J on McCalla
US DISTRICT COURT

